[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.] OPINION AND JUDGMENT ENTRY
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This is an appeal from a judgment of conviction and sentence rendered in the Erie County Court of Common Pleas. Appellant, William Croft, pled guilty to a single count of robbery. During his plea hearing appellant was informed that the parole board could increase his sentence up to fifty percent should he commit a crime in prison. According to the record before us, appellant has not yet had his sentence extended pursuant to R.C.2967.11. He now appeals setting forth five assignments of error challenging the constitutionality of the "bad time" sentencing statute.
On the authority of this court's decision in State v.Somerlot, et. al. (Jan. 23, 1998), Erie County App. No. E-97-02, unreported, appellant's five assignments of error are found not well-taken. Accord, State v. Davis (Dec. 31, 1997), Miami App. No. 97-CA-17, unreported. The judgment of Erie County Court of Common Pleas is affirmed. Costs assessed to appellant.
JUDGMENT AFFIRMED.
A certified copy of this entry shall constitute the mandate pursuant to App.R. 27. See, also, 6th Dist.Loc.App.R. 4, amended 7/1/92.
  _________________________________  Peter M. Handwork, P.J.
JUDGE
  _____________________________  James R. Sherck, J.
JUDGE
  ________________________________  Richard W. Knepper, J.
JUDGE
CONCUR.